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15                                 UNITED STATES DISTRICT COURT
16                                NORTHERN DISTRICT OF CALIFORNIA
17                                    SAN FRANCISCO DIVISION
18 MAXIMILIAN KLEIN, et al.,                         Consolidated Case No. 3:20-cv-08570-JD
19
                    Plaintiffs,                      ADVERTISER PLAINTIFFS’ REPLY
20                                                   MEMORANDUM IN SUPPORT OF
           vs.                                       MOTION TO EXCLUDE OPINIONS OF
21                                                   DR. HOCHBERG
     META PLATFORMS, INC.,
22
                                                     Hearing Date: December 14, 2023
23                  Defendant.                       Hearing Time: 10:00 a.m.
                                                     Courtroom:    11, 19th Floor
24                                                   Judge:        The Honorable James Donato

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                     ADVERTISER PLAINTIFFS’ REPLY MEMORANDUM IN SUPPORT OF
                 MOTION TO EXCLUDE OPINIONS OF DR. HOCHBERG – Case No. 3:20-cv-08570-JD
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                            ADVERTISER PLAINTIFFS’ REPLY MEMORANDUM IN SUPPORT OF
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 1                         MEMORANDUM OF POINTS AND AUTHORITIES

 2            Meta’s 1 opposition (ECF No. 677-1; hereinafter, “Opposition” or “Opp.”) confirms that the

 3 Court should act in its discretion as gatekeeper to exclude the unqualified, unreliable, irrelevant, and

 4 misleading opinions of Dr. Hochberg.

 5                                                ARGUMENT

 6       I.   DR. HOCHBERG’S FALSE CLAIM THAT FIRMS WITH MONOPOLY POWER
              HAVE NECESSARILY ENGAGED IN ANTICOMPETITIVE CONDUCT
 7            DEMONSTRATES HER LACK OF QUALIFICATIONS AND RENDERS SECTION
              III OF HER REPORT AND THE OPINIONS EXPRESSED THEREIN UNRELIABLE
 8

 9            Dr. Hochberg misunderstands monopoly power, which is a basic concept in antitrust
10 economics.         This fundamental error alone should raise questions about Dr. Hochberg’s
11 qualifications. A review of those qualifications reveals that she is not a trained economist, nor does

12 she have any training, coursework, or professional experience specific to monopoly power (or

13 antitrust damages). Because monopoly power is so central to Dr. Hochberg’s opinions, her

14 definitional error requires at least Section III of her report to be excluded.

15            A.      Dr. Hochberg Failed to Understand that Monopoly Power and Anticompetitive
                      Conduct Are Not the Same Thing
16

17            As this Court is aware, in antitrust law, the possession of the power to influence prices in a
18 given market and the acquisition of that power by anticompetitive means or use of that power for

19 anticompetitive purposes are distinct concepts. E.g., In re Google Play Store Antitrust Litig., No.

20 21-md-02981-JD, 2022 WL 17252587, at *8 (N.D. Cal. Nov. 28, 2022) (Donato, J.) (listing

21 “‘possession of monopoly power in the relevant market’” and “‘the willful acquisition or

22 maintenance of that power’” as separate elements of Section 2 claim). The same is true for antitrust

23 economics. See Declaration of Amanda F. Lawrence in Support of Advertiser Plaintiffs’ Motion to

24 Exclude Opinions of Dr. Hochberg (ECF No. 657-2, the “Mot. Decl.”), Ex. 9, ¶134 (quoting

25 commonly used textbook for definition of monopoly power: “‘It is common practice to say that

26

27   1
          Unless otherwise indicated, capitalized terms have the meanings defined in Advertisers’
   opening brief. ECF No. 657-1 (“Mot.”). Additionally, unless otherwise indicated, emphases are
28 added, and citations are omitted.
                                                   1
                       ADVERTISER PLAINTIFFS’ REPLY MEMORANDUM IN SUPPORT OF
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 1          Unable to diminish the significance of this data through valid statistical inference, Dr.

 2 Hochberg (and Meta’s Opposition) move the goalposts, attacking opinions that Dr. Williams and Mr.

 3 Kreitzman never gave. These attacks are unhelpful to the factfinder and warrant exclusion.

 4          First, Dr. Hochberg is clearly unqualified to provide opinions regarding economic profits.

 5 Dr. Hochberg testified that

 6

 7                                                                   Mot. Decl., Ex. 2 at 60. Dr. Hochberg

 8 is wrong. As correctly stated in a well-known textbook by experts from McKinsey & Company, the

 9 correct definition of economic profits is as follows:
10          Economic Profit = Invested Capital × (ROIC − Cost of Capital).
11          In other words, economic profit is the spread between the return on invested capital (“ROIC”)
12 and the cost of capital times the amount of invested capital. 3

13          Dr. Hochberg’s definition is not just wrong – it is nonsensical. A critical aspect of calculating

14 a firm’s economic profits is to subtract the opportuning cost of capital (i.e., Invested Capital × Cost

15 of Capital) from the firm’s ROIC. Ex. 1 at 17. Dr. Hochberg’s unique definition                     . The

16 fact that she was incapable of correctly defining the elementary but critical concept of economic

17 profits demonstrates that she is unqualified to offer opinions on the work of Mr. Kreitzman and Dr.

18 Williams that uses and relies on the correct definition of economic profits.

19          Second, Dr. Hochberg contends that

20

21                                                         . Mot. Decl., Ex. 1, ¶37. But this is irrelevant;

22

23

24        . Id., ¶38, Figure 1.

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27   3
          Tim Koller, et al., Valuation: Measuring and Managing the Value of Companies (7th ed.
   2020) at 41 (attached as Exhibit 1 to the Declaration of Amanda F. Lawrence in Support of
28 Advertiser Plaintiffs’ Reply Memorandum, filed concurrently herewith).
                                                  6
                    ADVERTISER PLAINTIFFS’ REPLY MEMORANDUM IN SUPPORT OF
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 1          Third, Dr. Hochberg and Meta argue the inference of monopoly power as to Meta fails unless

 2 Advertisers prove “all 17 of those firms . . . are unlawful monopolists too.” Opp. at 10; Mot. Decl.,

 3 Ex. 1, ¶40. Again, Dr. Hochberg, and apparently Meta, fail to appreciate the difference between

 4 monopoly power and unlawful monopolization. Mot. Decl., Ex. 9, ¶157.

 5          As for Dr. Hochberg’s yardstick damages analyses (Tables 3, 4, and 5), Meta’s sole opposition

 6 is that Advertisers’ “criticisms do not make sense” because Dr. Hochberg “is not positing an

 7 alternative yardstick model” and is instead mirroring the supposed “conceptual problems” with

 8 Williams’ and Kreitzman’s approach. Opp. at 11. But as explained in Advertisers’ opening brief,

 9 Dr. Hochberg specifically did not follow Williams’ and Kreitzman’s methodology. Mot. at 12.
10 Rather, she

11

12          Furthermore, Meta states that “Advertisers criticize Hochberg for supposedly ‘cherry
13 picking’ data from                               to show that persistently positive EPRs and ROCE in
14 excess of WACC are common. But Hochberg identified over 1,000 firms with such characteristics.”

15 Opp. at 10. Again, this is nonsense. Plaintiffs did not criticize Hochberg for cherry picking firms

16 with positive EPRs.

17

18                       Mot. at 11. 4
19    II.   SECTIONS V AND VI OF DR. HOCHBERG’S REPORT ARE NOT EXPERT
            OPINIONS
20

21          As Advertisers previously observed, “[s]omething doesn’t become ‘scientific knowledge’ just

22 because it’s uttered by a scientist; nor can an expert’s self-serving assertion that his conclusions were

23 ‘derived by the scientific method’ be deemed conclusive” to justify the admissibility of specific

24 purported expert testimony. Mot. at 4 (quoting Daubert v. Merrell Dow Pharms., Inc., 43 F.3d 1311,

25
   4
           In a footnote, Meta states: “Advertisers also briefly suggest that Hochberg’s EPR calculations
26 contain supposed errors concerning minutiae such as the accounting treatment of ‘inventory’ ‘in the
   Homebuilding industry.’” Opp. at 11 n.5. Meta is wrong ‒ far from being “minutiae,” Dr. Hochberg’s
27 inability to understand and implement the EPR methodology is proven by her mistakes in calculating
   EPRs. Dr. Hochberg’s mistakes demonstrate that “Dr. Hochberg failed in her attempt to use my
28 methodology for calculating EPRs.” Mot. Decl., Ex. 8, ¶11.
                                                      7
                    ADVERTISER PLAINTIFFS’ REPLY MEMORANDUM IN SUPPORT OF
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 1 power and antitrust damages, it should exclude the opinions expressed in Sections III, V, and VI of

 2 her report on the grounds set forth herein.

 3 Dated: November 3, 2023

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                MOTION TO EXCLUDE OPINIONS OF DR. HOCHBERG – Case No. 3:20-cv-08570-JD
